        Case: 25-60019     Document: 27     Page: 1     Date Filed: 02/21/2025




       In the United States Court of Appeals
               for the Fifth Circuit
Susquehanna Nuclear, LLC,     )
                              )
                  Petitioner, )
                              )
         v.                   ) No. 25-60019
                              )
Federal Energy Regulatory     )
  Commission,                 )
                              )
                  Respondent. )
_____________________________ )________________________

                     Motion of Respondent
             Federal Energy Regulatory Commission
                  to Hold Appeal in Abeyance

      Pursuant to Rule 27 of the Federal Rules of Appellate Procedure,

Respondent Federal Energy Regulatory Commission (“Commission” or “FERC”)

respectfully moves this Court to hold the above-captioned appeal in abeyance until

the earlier of April 30, 2025, or FERC’s issuance of an order on rehearing in the

agency proceeding here on judicial review. The parties would ﬁle motions to

govern further proceedings within 21 days thereafter.

      The Court set a date of February 25, 2025 for ﬁling the agency record. The

Commission’s requested relief would defer all ﬁling deadlines—including ﬁling of

the agency record—until after the abeyance period expires. See Fed. R. App.
        Case: 25-60019     Document: 27       Page: 2   Date Filed: 02/21/2025




P. 17(a)–(b). The relief requested is without prejudice to any party ﬁling procedural

or substantive motions, as appropriate, at any time.

      The Commission anticipates that abeyance will allow for completion of the

statutorily mandated Commission rehearing process. See 16 U.S.C. § 825l. In

particular, it will aﬀord FERC an opportunity to respond to Petitioner Susquehanna

Nuclear, LLC’s (“Susquehanna”) request for rehearing of the Commission’s initial

order in this proceeding: PJM Interconnection, L.L.C., 189 FERC ¶ 61,078 (Nov. 1,

2024) (“Initial Order”). The Commission has indicated its intent to respond to

Susquehanna’s request in a reasoned rehearing order. See PJM Interconnection,

L.L.C., “Notice of Denial of Rehearing By Operation of Law and Providing for

Further Consideration,” 189 FERC ¶ 62,132 (Dec. 23, 2024) (“FERC 2024

Notice”).

      Counsel for the Commission has contacted counsel for Susquehanna and

Intervenors Vistra Corporation, American Electric Power Service Corporation,

Exelon Corporation, and PPL Electric Utilities Corporation. Exelon and American

Electric Power do not oppose the relief requested in this motion, while PPL

Electric Utilities takes no position and Susquehanna and Vistra oppose the

requested relief.




                                          2
        Case: 25-60019     Document: 27       Page: 3   Date Filed: 02/21/2025




                                  Background

      Across much of the United States, wholesale electricity is transacted and

transmitted according to rules set by regional market operators. Pub. Citizen, Inc. v.

FERC, 7 F.4th 1177, 1186 (D.C. Cir. 2021). These market operators—called

regional transmission organizations or independent system operators—are

regulated by FERC. See NextEra Energy Capital Holdings, Inc. v. Lake, 48 F.4th 306,

311–12 (5th Cir. 2022). The market operator implicated in the present dispute is

PJM Interconnection, L.L.C. (“PJM”), whose service territory covers the District

of Columbia and 13 States in the upper Midwest and Eastern United States. See

PJM, Territory Served, available at https://perma.cc/U766-PMEF.

      This appeal involves a challenge to the Initial Order, which rejected a

proposed amended interconnection agreement between PJM, Susquehanna, and

other entities. Initial Order P 1. The agreement would increase the amount of

co-located load behind Susquehanna’s two nuclear generating units—i.e., the

amount of power that Susquehanna would commit to nearby data centers. Id.

PP 6–7, 10. “ʻLoad’ refers to end-use customers of the transmission system, the

primary source of ʻdemand’ for electric energy.” Sacramento Mun. Util. Dist. v.

FERC, 616 F.3d 520, 524 n.4 (D.C. Cir. 2010).




                                          3
        Case: 25-60019      Document: 27       Page: 4   Date Filed: 02/21/2025




      The Commission rejected the amended interconnection agreement because

it “f[ound] [that] PJM has failed to meet the high burden to demonstrate” that the

agreement’s provisions—which depart from PJM’s pro forma interconnection

agreement—“are necessary.” Initial Order PP 86–87. Susquehanna timely ﬁled an

application for rehearing of the Commission’s decision, which raised objections to

the Initial Order. The Commission thereafter issued a notice stating that, pursuant

to its statutory authority, see 16 U.S.C. § 825l, it intends to address Susquehanna’s

objections in a substantive order on rehearing, see FERC 2024 Notice; 16 U.S.C.

§ 825l(a)–(b) (aﬀording FERC the opportunity to respond to a rehearing

application before a court of appeals assumes jurisdiction to review a FERC order).

                                    Argument

      The Federal Power Act permits judicial review of a FERC order only after

“compl[iance] with th[e] [Act’s] unusually strict exhaustion requirement.” Ameren

Servs. Co. v. FERC, 893 F.3d 786, 793 (D.C. Cir. 2018) (cleaned up). A party must

state with “speciﬁcity” all objections “before the Commission in [an] application

for rehearing” of an initial FERC order as a prerequisite to seeking judicial review

of “such order.” Id. (quoting 16 U.S.C. § 825l(b)) (cleaned up); accord Ecee, Inc. v.




                                           4
         Case: 25-60019     Document: 27     Page: 5   Date Filed: 02/21/2025




FERC, 611 F.2d 554, 560 (5th Cir. 1980) 1 (“[R]ehearing [i]s a jurisdictional

prerequisite to judicial review.”).

      The rehearing process serves several functions: It (1) recognizes FERC’s

primary jurisdiction to “correct its own errors” in an initial order, Save Our

Sebasticook v. FERC, 431 F.3d 379, 381 (D.C. Cir. 2005); Granholm ex rel. Mich.

Dep’t of Nat. Res. v. FERC, 180 F.3d 278, 281 (D.C. Cir. 1999); (2) “aﬀord[s] the

Commission an opportunity to bring its knowledge and expertise to bear on an issue

before it is presented to a generalist court,” Nw. Pipeline Corp. v. FERC, 863 F.2d 73,

77–78 (D.C. Cir. 1988); and (3) promotes judicial eﬃciency by potentially

narrowing the issues a court must decide or “obviat[ing] the need for [judicial]

review” altogether, Clifton Power Corp. v. FERC, 294 F.3d 108, 111–12 (D.C. Cir.

2002).

      The Commission retains jurisdiction to modify its initial order through an

order on rehearing until it ﬁles the agency record with the court of appeals. 16

U.S.C. § 825l(a)–(b). Only upon record ﬁling does the court obtain “exclusive”

jurisdiction “to aﬃrm, modify, or set aside such [Commission] order in whole or in



1
       Ecee referenced the Natural Gas Act, not the Federal Power Act. But it is
well-established that “the relevant provisions of the [Federal Power Act and
Natural Gas Act] are analogous,” meaning “[t]h[e] [Supreme] Court has routinely
relied on [Natural Gas Act] cases in determining the scope of the [Federal Power
Act], and vice versa.” Hughes v. Talen Energy Mktg., LLC, 578 U.S. 150, 164 n.10
(2016).
                                          5
        Case: 25-60019     Document: 27       Page: 6   Date Filed: 02/21/2025




part.” 16 U.S.C. § 825l(b); see Berkley v. FERC and Mountain Valley Pipeline, LLC,

896 F.3d 624, 630 (4th Cir. 2018) (Natural Gas Act) (“Congress gave ʻexclusive’

jurisdiction to the appropriate court of appeals—but only after going through the

review process with FERC.”).

      Federal Rule of Appellate Procedure 17(a) sets a generic date for record ﬁling

of 40 days from the date a petition for review is ﬁled. However, “[t]he court may

shorten or extend the time to ﬁle the record” to allow FERC an opportunity to

complete the rehearing process. See Fed. R. App. P. 17(a); Allegheny Defense Project

v. FERC, 964 F.3d 1, 17 (D.C. Cir. 2020) (en banc) (contemplating motions to

extend the record ﬁling date beyond 40 days from the date a petition for review is

ﬁled, and noting that the court of appeals had allowed the Commission nine months

to ﬁle the agency record in that case). And until FERC ﬁles the agency record with

the court, “[it] may at any time, … in such manner as it shall deem proper, modify

or set aside, in whole or in part, any ﬁnding or order made or issued by it under the

provisions of this chapter.” 16 U.S.C. § 825l(a). As this Court has recognized, a

“petition for rehearing”—e.g., Susquehanna’s rehearing application in this

matter—“prevent[s] [an initial order] from becoming ﬁnal.” Valero Interstate

Transmission Co. v. FERC, 903 F.2d 364, 368 (5th Cir. 1990). Consequently, courts

routinely hold petitions challenging FERC orders in abeyance and set a record ﬁling




                                          6
        Case: 25-60019      Document: 27     Page: 7    Date Filed: 02/21/2025




date that aﬀords the Commission time—often several months—to issue a

substantive rehearing order. 2

      The Commission seeks comparable latitude in the matter here on review.

The Commission respectfully requests that the Court hold the above-captioned

appeal, and any subsequently ﬁled appeals concerning the Initial Order, in abeyance

until the earlier of April 30, 2025, or FERC’s issuance of an order on rehearing in

the agency proceeding here on judicial review. Abeyance would suspend all ﬁling

deadlines, including the deadline for ﬁling the Commission’s certiﬁed record index

with the Court. See Fed. R. App. P. 17(a)–(b). Abeyance would be without

prejudice to the parties ﬁling procedural or substantive motions, as appropriate, at

any time. The parties would ﬁle motions to govern this appeal within 21 days

thereafter.




2
       See, e.g., ANR Pipeline Co. v. FERC, Nos. 24-60222, et al. (5th Cir.), Docs. 1,
33 (record ﬁling approximately two months after court originally ordered record
ﬁling); West Texas Gulf Pipe Line v. FERC and United States, Nos. 23-60601, et al.
(5th Cir.), Docs. 1, 57 (approximately seven-month period); System Energy Res. v.
FERC, Nos. 23-60110, et al. (5th Cir.), Docs. 1, 80 (approximately nine-month
period); PJM Power Providers Grp. v. FERC, Nos. 21-3068, et al. (3d Cir.), Docs. 2,
121 (approximately two-month period); City of Salisbury v. FERC, Nos. 20-1238, et
al. (D.C. Cir.), Docs. 1850863, 1878361 (approximately four-month period);
Allegheny Defense Project v. FERC, Nos. 17-1098, et al., Docs. 1668150, 1708899
(approximately seven-month period).
                                           7
        Case: 25-60019      Document: 27       Page: 8   Date Filed: 02/21/2025




                                  Conclusion

      The Commission respectfully requests that the Court hold the

above-captioned appeal in abeyance, as set forth above.



                                                Respectfully submitted,

                                                Robert H. Solomon
                                                Solicitor

                                                /s/ Jared B. Fish___________
                                                Jared B. Fish
                                                Attorney
Federal Energy Regulatory
 Commission
Washington, DC 20426
Tel.: (202) 502-8101
Email: jared.ﬁsh@ferc.gov

February 21, 2025




                                           8
        Case: 25-60019      Document: 27   Page: 9    Date Filed: 02/21/2025




                       Certiﬁcate of Compliance

      Pursuant to Fed. R. App. P. 32(g)(1), I certify that this motion complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2) because this motion contains

1,464 words, excluding the parts exempted by Fed. R. App. P. 32(f ).

      I further certify that this motion complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this motion has been prepared in Equity A 14-point font using Microsoft

Word 365.


                                             /s/ Jared B. Fish___________
                                             Jared B. Fish
                                             Attorney

Federal Energy Regulatory
 Commission
Washington, DC 20426
Tel.: (202) 502-8101
Email: jared.ﬁsh@ferc.gov

February 21, 2025
       Case: 25-60019     Document: 27     Page: 10    Date Filed: 02/21/2025




                          Certiﬁcate of Service

      I hereby certify that on February 21, 2025, I electronically ﬁled the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system.


                                             /s/ Jared B. Fish___________
                                             Jared B. Fish
                                             Attorney


Federal Energy Regulatory
  Commission
888 First Street, NE
Washington, D.C. 20426
Tel.: (202) 502-8101
Email: jared.ﬁsh@ferc.gov
